                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 MAXWELL KADEL, et al.,               )
                                      )
        Plaintiffs,                   )
                                      )
 v.                                   )               1:19CV272
                                      )
 DALE FOLWELL, in his official )
 capacity as State Treasurer of North )
 Carolina, et al.,                    )
                                      )
        Defendants.                   )


                          STIPULATED PROTECTIVE ORDER

       Plaintiffs Maxwell Kadel, Jason Fleck, Connor Thonen-Fleck, by his next friends

and parents, Jason Fleck and Alexis Thonen, Julia McKeown, Michael D. Bunting, Jr.,

C.B., by his next friends and parents, Michael D Bunting, Jr. and Shelley K. Bunting, and

Sam Silvaine; Defendants Dale Folwell, and Dee Jones; and Defendants University of

North Carolina at Chapel Hill, North Carolina State University, and University of North

Carolina at Greensboro; (collectively, “the parties”) hereby enter into this Stipulated

Protective Order to facilitate the exchange of documents and information. Unless modified

pursuant to the terms contained herein, this Order shall remain in effect through the

conclusion of this litigation.

       The parties agree that this Order shall control the disclosure, dissemination, and use

of confidential material produced in discovery. The parties acknowledge that this Order

does not confer blanket protections on all disclosures or discovery responses and that the




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protection it affords from public disclosures and use extends only to the limited information

or items that are entitled to protected treatment pursuant to this Order.

       1.      Necessity of Protective Order: Discovery in this matter is likely to extend

to, among other things, confidential medical information, as well as information that is

confidential pursuant to North Carolina’s State Human Resources Act.

       2.      Scope of Protective Order: As a means of avoiding dispute with respect to

the parties’ requests for information requiring protected treatment, the parties have agreed

to produce information requiring protected treatment pursuant to the terms of this Order.

This order shall govern the production, use, and disclosure of information produced by any

party or non-party, including in response to any discovery request, in Kadel v. Folwell

(Case No. 1:19-cv-272-LCB). This order does not authorize production of medical records

and individually-identifiable health information, or otherwise limit the protections

available under the Health Insurance Portability and Accountability Act of 1996

(“HIPAA”), Pub. L. No. 104-191, and the regulations thereunder, for individuals who

are not parties to this litigation.

       3.      Designation of Protected Material: Any party or non-party producing

Discovery Material in this action may designate such Discovery Material and the

information contained therein that the designating party reasonably and in good faith

believes contains information requiring protected treatment—including, for example,

sensitive personal information not generally disclosed to the public or personal financial

information—as Protected Material subject to this Order by stamping “Confidential” on




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each page of the document or on each page of the portion(s) of the document for which

protected treatment is designated. Any party or non-party producing Discovery Material

in this action may designate such Discovery Material and the information contained therein

that the designating party reasonably and in good faith believes contains highly sensitive

information—including, for example, medical records and health information—as

Protected Material subject to this Order by stamping “Attorneys Eyes Only” on each page

of the document or on each page of the portion(s) of the document for which protected

treatment is designated. Information designated as “Confidential” or “Attorneys Eyes

Only” pursuant to this Paragraph 3 (“Protected Material”) shall be treated as protected

pursuant to this Order.

       4.     Discovery Material:     The parties shall have the right to designate as

Protected Material any part or the whole of any answers to discovery, answers in

interrogatories, answers to requests for admission, deposition transcripts, responses to

production requests, documents, expert reports, disclosures, exhibits, or deposition

testimony or other information (collectively, “Discovery Material”) that the parties deem

to be confidential. Any Discovery Material that the parties have designated as Protected

Material shall constitute information under this Order requiring protected treatment, both

in form and substance.

       5.     Deposition Testimony: Deposition testimony can be designated by the

parties as Protected Material. Such designation will be made on the record if possible, but

the parties can designate portions of such testimony as Protected Material by providing




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written notice of such designation to the opposing party within thirty (30) days of the

deposition to be designated as Protected Material.         Until thirty (30) days after the

deposition, all deposition testimony shall be treated by the parties as “Confidential.”

       6.     Native Documents: Electronic documents produced in native format may

be designated for protected treatment under this Order by designation on the physical media

(e.g., disk, flash drive) containing such electronic documents; by naming the native file

“Confidential” or “Attorneys Eyes Only,” as applicable, along with its bates-number; or by

stamping “Confidential” or “Attorneys Eyes Only,” as applicable, on a slipsheet

accompanying the native file if the file is served electronically.

       7.     Limitation on Use: Information designated for protected treatment under

this Order, as well as copies, summaries, notes, memoranda, and computer databases

relating thereto, shall be used strictly in accordance with the terms in this Order and solely

for the purpose of prosecution or defense of this action. At no time shall such information

be disclosed to or used by any person, corporation, or entity except as permitted by this

Order. The parties, their attorneys, and anyone else acting on their behalf shall take such

precautions with Protected Material as are necessary to strictly maintain its confidentiality

and comply with the terms of this Order.

       8.     Limited Disclosure of “Confidential” Protected Material: Except with

the prior written consent of the individual or entity designating a document or portions of

a document as “Confidential,” or pursuant to prior Order after notice, any document,

transcript, or pleading given “Confidential” treatment under this Order, and any




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information contained in, or derived from, any such materials (including, but not limited

to, all deposition testimony that refers to, reflects, or otherwise discusses any information

designated “Confidential” hereunder) may not be disclosed other than in accordance with

this Order and may not be disclosed to any person other than: (a) the Court and its officers,

employees, and any stenographic reporters of such courts; (b) parties to this litigation;

(c) counsel for the parties, whether retained outside counsel or in-house counsel, and

employees and agents of counsel assigned to assist such counsel in the preparation of this

litigation; (d) court reporters, their staffs, and professional vendors to whom disclosure is

reasonably necessary for this litigation; (e) fact witnesses testifying at a deposition;

(f) present or former employees of the producing party in connection with their depositions

in this action (provided that no former employees shall be shown confidential documents

prepared after the date of his or her departure); and (g) experts specifically retained as

consultants or expert witnesses in connection with this litigation.

       9.     Acknowledgement by Third-Parties:               Information designated as

“Confidential” shall not be made available to any person designated in Subparagraph 8(e)-

(g) unless such person has first read this Order, agreed to be bound by its terms, and signed

the declaration of compliance attached hereto as Exhibit A.

       10.    Limited Disclosure of “Attorneys Eyes Only” Protected Material:

Except with the prior written consent of the individual or entity designating a document or

portions of a document as “Attorneys Eyes Only,” or pursuant to prior Order after notice,

any document, transcript, or pleading given “Attorneys Eyes Only” treatment under this




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Order, and any information contained in, or derived from, any such materials (including,

but not limited to, all deposition testimony that refers to, reflects, or otherwise discusses

any information designated “Attorneys Eyes Only” hereunder) may not be disclosed other

than in accordance with this Order and may not be disclosed to any person other than:

(a) the Court and its officers, employees, and any stenographic reporters of such courts;

(b) counsel for the parties, whether retained outside counsel or in-house counsel, and

employees and agents of counsel assigned to assist such counsel in the preparation of this

litigation; (c) experts specifically retained as consultants or expert witnesses in connection

with this litigation, including any such expert witnesses testifying at a deposition in this

matter; and (d) the individual plaintiff to whom the Protected Material relates, at any

deposition of such plaintiff.

       11.    Filed Documents: Before filing any Discovery Material that has been

designated “Confidential” or “Attorneys Eyes Only” with the Court, or any pleadings,

motions, or other papers that disclose any such information, and before moving any

Discovery Material into evidence at any trial or evidentiary hearing in this matter, counsel

shall confer with counsel for the party that produced the information so designated about

how it should be filed. If the party that produced the information so designated desires that

the materials be filed under seal, then the filing party shall either file the materials in

accordance with Local Civil Rule 5.4, M.D.N.C., with notice served upon the producing

party, or pursue the dispute resolution procedures in Paragraph 12 below.




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       12.       Objection to Designation: In the event that any party disagrees with any

designation made under this Order, the parties shall first try in good faith to resolve the

disagreement informally. If the dispute cannot be resolved, the party objecting to the

designation may seek appropriate relief from this Court. In seeking intervention by the

Court, the party asserting the designation as “Confidential” or “Attorneys Eyes Only” shall

bear the burden of demonstrating that the information is entitled to protection under this

Order or other applicable law. During the pendency of any challenge to the designation of

a document or information, the designated document or information shall continue to be

treated as “Confidential” or “Attorneys Eyes Only,” as applicable, subject to the provisions

of this Order.

       13.       Effect of Designation: The designation of Protected Material pursuant to

the Protective Order shall not be construed as a waiver of any objection or a concession by

any party that such Protected Material is relevant or material to any use. Nor shall a failure

to object to the designation of any such Protected Material be construed as a concession by

the receiving parties that such Protected Material is, in fact, confidential or otherwise

entitled to protection under the terms of this Protective Order. All parties maintain their

respective rights to object to the production of requested documents on the grounds that

they are not discoverable, including, but not limited to, objections based on any applicable

privilege, undue burden, overbreadth, relevance, proportionality to the needs of the case,

and protection under state or federal law, including decisional law.




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       14.    Late Designation: The producing party’s inadvertent production of any

Discovery Material without designation as Protected Material, or failure to designate

deposition testimony, shall not be deemed a waiver of the producing party’s claim of

confidentiality as to that material and shall not preclude a party at a later time from

subsequently designating or objecting to the designation of such information or documents.

If the producing party wishes to afford protected treatment to any material after production,

the producing party shall notify the receiving party that the material is designated as

“Confidential” or “Attorneys Eyes Only,” as applicable. However, the parties understand

and acknowledge that a party’s failure to designate Discovery Material as protected under

this Order relieves the other parties of any obligation of confidentiality until such a

designation is made.     All documents containing any such subsequently designated

information will be thereafter treated in accordance with this Order. If the receiving party

disagrees with the designation, the receiving party may follow the dispute resolution

procedures in Paragraph 12 above.

       15.    Privileged Material: Consistent with Federal Rule of Evidence 502(d), the

production of privileged or work-product protected documents or information is not a

waiver of the privilege or protection from discovery in this case or in any other federal or

state proceeding. This Order shall be interpreted to provide the maximum protection

allowed by Federal Rule of Evidence 502(d).

       16.    Subpoena of Protected Material: If a person in possession of Protected

Material under this Order who is not the producing party with respect to that material




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receives a subpoena or other request that would require production or other disclosure of

Protected Material, that person shall immediately give written notice to counsel for the

producing party and identify the Protected Material sought and the date and time that

production or other disclosure is required. In no event should production or disclosure be

made without written approval by counsel for the producing party or by further order of

the Court or another court of competent jurisdiction

       17.    Application to Court Proceedings: The parties cannot use or disclose any

Protected Material in any court proceeding that is open to persons not authorized to have

access to such Protected Material under the terms of this Order. This provision does not

limit the right of any of the parties to file any Protected Material under seal as described

above or submit any Protected Material in camera to the Court.

       18.    No Limitation on Designating Party: Nothing herein shall be construed as

limiting a party’s use of its own Protected Material, and such use shall not constitute a

waiver of the terms of this Order or the status of such information as Protected Material.

Either party may remove the “Confidential” or “Attorneys Eyes Only” designation from

any information it has previously so designated.

       19.    Inadvertent Disclosure of Protected Material: Should any Protected

Material be disclosed, through inadvertence or otherwise, to any person and/or entity not

entitled to access or review, then the disclosing party must: (a) promptly inform the person

or entity to whom inadvertent disclosure was made of all provisions of this Order and

request in writing that such person or entity return the Protected Material to the disclosing




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party; and (b) promptly notify all counsel of record in this matter of the inadvertent

disclosure. Inadvertent disclosure of any Protected Material, regardless of whether said

Protected Material was so designated at the time of disclosure, shall not be deemed a waiver

in whole or in part of the confidentiality of the Protected Material in accordance with the

terms of this Protective Order, either as to specific Protected Material disclosed, or as to

any other information relating thereto or relating to the same or related subject matter.

       20.    Third-Party Designations: Third parties who are the subject of discovery

requests, subpoenas, or depositions in this case may take advantage of the provisions of

this Protective Order by providing the parties with written notice that they intend to comply

with and be bound by the terms of this Protective Order.

       21.    Enforcement: All persons to whom Protected Material is disclosed shall be

subject to the jurisdiction of the Court, for the purpose of enforcing the terms of this

Protective Order. The confidentiality obligations of this Order shall survive any settlement,

judgment, or other disposition or conclusion of this action, and all appeals therefrom. This

Court shall retain continuing jurisdiction to enforce the terms of this Order. This Protective

Order shall continue in full force and effect, and shall be binding upon the parties and all

parties to whom Protected Material has been disclosed, both during and after the pendency

of this case unless or until the designating party agrees in writing or the Court orders the

disclosure of the Protected Material.

       22.    Return of Protected Material: Within sixty (60) days after the final

resolution of this matter, including any settlement or appellate proceeding, the parties agree




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to return to opposing counsel or destroy the original and any copies of any Protected

Material produced. The attorneys for parties shall be entitled to retain all litigation

documents, including exhibits and their own memoranda, containing Protected Material.

Such litigation documents and memoranda shall be used only for the purpose of preserving

files from this action and shall not, without the written permission of the designating party

or an order of the Court, be disclosed to anyone other than those to whom such information

was actually disclosed, in accordance with this Protective Order. The ultimate disposition

of Protected Material on the completion of litigation shall be subject to a final order of the

Court.

         23.    Modification:    Any party may at any time and for any reason seek

modification of this Order. This Order can be modified only by written agreement of the

parties or by Order of this Court. Each party reserves the right to object to any party’s

motion or request to modify this Order.


         IT IS SO ORDERED.

         This, the 19th day of January, 2021.


                                                        /s/ L. Patrick Auld
                                                           L. Patrick Auld
                                                  United States Magistrate Judge




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AGREED TO BY:

/s/ Amy E. Richardson
Amy E. Richardson                           Tara Borelli*
N.C. State Bar No. 28768                    LAMBDA LEGAL DEFENSE AND
Lauren E. Snyder                              EDUCATION FUND, INC.
N.C. State Bar No. 54150                    730 Peachtree Street NE, Suite 640
HARRIS, WILTSHIRE & GRANNIS LLP             Atlanta, GA 30318-1210
1033 Wade Avenue, Suite 100                 Telephone: 404-897-1880
Raleigh, NC 27605-1155                      Facsimile: 404-897-1884
Telephone: 919-429-7386                     tborelli@lambdalegal.org
Facsimile: 202-730-1301
arichardson@hwglaw.com                      Omar Gonzalez-Pagan*
                                            LAMBDA LEGAL DEFENSE AND
Deepika H. Ravi*                              EDUCATION FUND, INC.
HARRIS, WILTSHIRE & GRANNIS LLP             120 Wall Street, 19th Floor
919 M Street N.W., 8th Floor,               New York, NY 10005
Washington, D.C. 20036                      Telephone: 212-809-8585
Telephone: 202-730-1300                     Facsimile: 212-809-0055
Facsimile: 202-730-1301                     ogonzalez-pagan@lambdalegal.org
dravi@hwglaw.com

David Brown*
Alejandra Caraballo*
Noah E. Lewis*
TRANSGENDER LEGAL DEFENSE
   AND EDUCATION FUND, INC.
520 8th Ave, Ste. 2204
New York, NY 10018
Telephone: 646-993-1680
Facsimile: 646-993-1686
dbrown@transgenderlegal.org
acaraballo@transgenderlegal.org
nlewis@transgenderlegal.org

Counsel for Plaintiffs

*Appearing by special appearance pursuant to L.R. 83.1(d)

/s/ James Benjamin Garner               /s/ John G. Knepper
James Benjamin Garner                   John G. Knepper




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N.C. Bar. No. 41257                    Wyo. Bar No. 7-4608
General Counsel                        LAW OFFICE OF JOHN G. KNEPPER, LLC
North Carolina Department of           Post Office Box 1512
   the State Treasurer                 Cheyenne, WY 82003-1512
3200 Atlantic Avenue                   Telephone: (307) 632-2842
Raleigh, North Carolina 27604          Facsimile: (307) 432-0310
Telephone: (919) 814-4000              John@KnepperLLC.com
Ben.Garner@nctreasurer.com

                                       /s/ Kevin G. Williams
                                       Kevin G. Williams
                                       N. C. Bar No. 25760
                                       BELL, DAVIS & PITT, P.A.
                                       100 North Cherry St., Suite 600
                                       Winston-Salem, NC 27120-1029
                                       Telephone: (336) 722-3700
                                       Facsimile: (336) 722-8153
                                       kwilliams@belldavispitt.com
                                       mjones@belldavispitt.com



                                       /s/ Mark A. Jones
                                       Mark A. Jones
                                       N.C. Bar No. 36215
                                       BELL, DAVIS & PITT, P.A.
                                       100 North Cherry St., Suite 600
                                       Winston-Salem, NC 27120-1029
                                       Telephone: (336) 722-3700
                                       Facsimile: (336) 722-8153
                                       kwilliams@belldavispitt.com
                                       mjones@belldavispitt.com

Counsel for Defendants Dale Folwell, Dee Jones, and the North Carolina State Health
Plan for Teachers and State Employees


JOSHUA H. STEIN
Attorney General

/s/Zach Padget
 Zach Padget




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Assistant Attorney General
NC State Bar No. 46610
zpadget@ncdoj.gov

NC Department of Justice
PO Box 629
Raleigh, NC 27602
Tel: 919-716-6920
Fax: 919-716-6764

Counsel for Defendants The University of North Carolina at Chapel Hill, North Carolina
State University, and The University of North Carolina at Greensboro




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                                         EXHIBIT A

         The undersigned has read and understands the terms of the Stipulated Protective

Order effective in this case, Maxwell Kadel, et al. v. Dale Folwell, et al., Civil Action No.

1:19-cv-272-LCB-LPA, which is currently pending in the United States District Court for

the Middle District of North Carolina.

         The undersigned agrees (i) to abide by the terms of the Stipulated Protective Order;

(ii) not to use or divulge, under penalty of law, any documents, materials or other

information covered by the Stipulated Protective Order, including confidential information,

except as permitted by the terms of the Stipulated Protective Order; and (iii) to submit to

the jurisdiction of the United States District Court for the Middle District of North Carolina

for resolution of any issues arising under the Stipulated Protective Order.


Signed:

Printed:

Dated:




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